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 5
     Attorney for Defendant
 6   ZHI XUE
 7
 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          Criminal No. 2:06-cr-0390 EJG
12                 Plaintiff,
                                                        STIPULATION AND ORDER TO
13          v.                                          VACATE AND RESET COURT
                                                        APPEARANCE - **AS MODIFIED
14   ZHI XUE,                                           PER AGREEMENT OF ALL PARTIES
15              Defendant.
     _____________________________/
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18
19          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
20   Heiko Coppola, counsel for plaintiff, and Douglas Horngrad, counsel for Zhi Xue, that, with
21   regard to defendant Zhi Xue only, Mr. Xue’s February 4, 2009, court appearance be vacated
22   and reset for March **13, 2009, at 10:00 a.m., or as soon thereafter as is convenient for the
23   Court. The stipulated reset is requested because counsel have a few remaining details to
24   resolve before sentencing.
25          The court interpreter coordinator Yolanda Riley Portal has been contacted and she
26   //
27   //
28   //
      Case 2:06-cr-00390-WBS Document 138 Filed 02/02/09 Page 2 of 2


 1   //
 2   confirmed that a Cantonese interpreter is available on **March 13, 2009, at 10:00 a.m.
 3
 4   Dated: January 27, 2009                         /s/ Douglas Horngrad
                                                     DOUGLAS HORNGRAD
 5                                                   Attorney for Defendant
                                                     ZHI XUE
 6
 7
     Dated: January 27, 2009                         /s/ Heiko Coppola
 8                                                   HEIKO COPPOLA
                                                     Counsel for Plaintiff
 9
10
11         IT IS SO ORDERED
12
13
14
     Dated: January 29, 2009                  /s/ Edward J. Garcia
15                                            HON. EDWARD J. GARCIA
                                              Senior United States District Court Judge
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